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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MISTER TWISTER, LLC,

       Plaintiff,                                         Case No.: 1:19-cv-05091

v.                                                        Judge Harry D. Leinenweber

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Sunil R. Harjani
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

 Dismissal, without prejudice, as to the following Defendant(s) on Schedule A, with leave to

 reinstate within one hundred eighty (180) days if the agreed settlement payment is not received.

 After one hundred eighty (180) days, the dismissal is with prejudice.

                 65        jhkuioygggyijgjbhjb
                 21        timi
                 30        muxingren
                 34        panda88shop
                 41        lydtech
                 76        yisong
                 91        andylike
                 92        leila3
                 78        深圳市汇力成科技有限公司
                 79        zhiyan
                 82        fu2016
                146        footful_mall
                174        jewelleri
                177        jindia
                207        paska2016
                252        toysmall2017
                270        xiaokisuntek
                 14        DYNWAVE US
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             55       arbest
             44       blesiya
             20       fisherszone
             43       daoud
             63       tingyuxuan
             80       stone017
             81       newlifeshopping
             24       letusgobaby
            115       alpinetopline
            120       beautylady365
            135       dealsgoing
            141       electronicsstyle
            149       gentoys
            168       importjewelrylover
            179       jsbay88
            197       modeldeals88
            198       motorcarshop
            199       motorpartsvalue
            204       notebook.edge
            246       thestylehome
            259       uptogethertek
            264       watchinweb

DATED: September 20, 2019                      Respectfully submitted,

                                               /s/ Keith A. Vogt
                                               Keith A. Vogt (Bar No. 6207971)
                                               Keith Vogt, Ltd.
                                               111 West Jackson Boulevard, Suite 1700
                                               Chicago, Illinois 60604
                                               Telephone: 312-675-6079
                                               E-mail: keith@vogtip.com

                                               ATTORNEY FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 20, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt




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